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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   CHARISSE D. G., 1                             Case No. EDCV 20-0865 PVC
12                       Plaintiff,
13          v.                                                JUDGMENT
14   KILOLO KIJAKAZI, 2
     Acting Commissioner of Social Security,
15
                         Defendant.
16
17
18         IT IS ADJUDGED that the decision of the Commissioner is REVERSED and that
19   the above-captioned action is REMANDED to the Commissioner for further action
20   consistent with the Court’s Memorandum Decision and Order.
21
     DATED: December 3, 2021
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23
                                               PEDRO V. CASTILLO
24                                             UNITED STATES MAGISTRATE JUDGE
25   1
      The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
26   Administration and Case Management of the Judicial Conference of the United States.
27   2
      Kilolo Kijakazi, Acting Commissioner of the Social Security Administration, is
     substituted for her predecessor, originally named in the complaint. See 42 U.S.C.
28   § 405(g); Federal Rule of Civil Procedure 25(d).
